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  From:            McIntyre, Rebecca (MDE)
  To:              Alexander, Gina (MDE)
  Cc:              O"Brien, Marcia (MDE)
  Subject:         RE: Attorney Letter
  Date:            Friday, November 1, 2019 8:55:43 AM
  Attachments:     image002.png
                   image004.png
                   image006.png


  I talked with Tori in the car on my way to Detroit yesterday. But yes we can talk with her again. I am
  going to cancel Pingora and the Tuesday Issues Meeting so you ladies all have extra time next week.
  We can talk with her during the Pingora time block. I will read your draft this morning.

  Rebecca McIntyre, Supervisor
  Office of Special Education
  Michigan Department of Education
  517-335-0457

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  Your Window to Important School Information and Facts

  Learn more at: http://www.MISchoolData.org/ParentDashboard

  From: Alexander, Gina (MDE) <AlexanderG3@michigan.gov>
  Sent: Friday, November 1, 2019 8:38 AM
  To: McIntyre, Rebecca (MDE) <McIntyreR1@michigan.gov>
  Cc: O'Brien, Marcia (MDE) <OBrienM6@michigan.gov>
  Subject: RE: Attorney Letter

  Good morning Rebecca,
  Thank you for the guidance and clarity. I shared the rough draft report with you and Marcia
  yesterday for 19-0188.

  Are we able to talk on Monday for a few minutes with Tori? She has some concerns about the Child
  Find issue for the report. Please advise.
  Kind Regards,
  Gina Alexander
  Special Education Consultant
  Office of Special Education
  Phone: 517-335-0461
  Fax: 517-241-7141




                                                                                            MDE_00005603
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  information and resources.
  Visit Family Matters, call OSE Information Line at 888-320-8384 or Email: mde-ose@michigan.gov.




  From: McIntyre, Rebecca (MDE) <McIntyreR1@michigan.gov>
  Sent: Friday, November 1, 2019 8:34 AM
  To: Alexander, Gina (MDE) <AlexanderG3@michigan.gov>
  Cc: O'Brien, Marcia (MDE) <OBrienM6@michigan.gov>
  Subject: Attorney Letter

  Good Morning Gina,

  Thank you for sharing. What I see this as, is an acknowledgement that the district violated child find,
  but that they now have conducted an evaluation and found the students not eligible which means
  they are not entitled to discipline protections.

  Your final decision, as of yesterday, included a child find violation, which supports exactly what the
  attorney is saying.

  What we need to talk about is the corrective action….I know they said they already did an
  evaluation, but that was outside of the complaint investigation window and so you cannot take that
  into consideration. The student level corrective action should include ordering the district to initiate
  a REED and conduct an evaluation to consider eligibility….IF the student is eligible then there would
  be comp ed due to discipline.

  In this case, the district has already completed the evaluation and so essentially they have
  completed their SLCAP. We CANNOT acknowledge that though, anywhere in the complaint.

  The corrective action we will issue will be MDE determined and not district determined and so
  simply write it like you had no idea of what they have already done.


                                                                                              MDE_00005604
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  Thanks!

  Rebecca McIntyre, Supervisor
  Office of Special Education
  Michigan Department of Education
  517-335-0457

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